UNITEI) sTATES DISTRICT COURT 050
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AsHEvILLE I)IvIsIoN U.s. D,ST "‘

SOLUTIONS, INC.; TRANS UNION

LLC; EQUIFAX, INC.; EQUIFAX

INFORMATION SERVICES, LLC
Defendants

R/
) W D/sr_ §,:ZOURT
TERI LYNN HINKLE )
Plainti]j‘ )
) Civil No: 1:18-CV-00007-MR-DLH
vs )
)
EXPERIAN INFORMATION )
)
)
)
)

MOTION AND REOUEST FOR ASSISTANCE FROM THE COURT
TO ENFORCE SETTLEMENT AGREEMENTAND DELAY DISMISSAL

COMES NOW, Teri Lynn Hinkle who requests the assistance of this Honorable Court in
enforcing a settlement agreement between Plaintiff and the Equifax Defendants. Plaintiff and the
Equifax Defendants agreed to, and consummated,, a settlement of this matter on November 8,
2018. Defendants, through Counsel Kendall Carter, have stated the settlement proceeds would be
mailed to Plaintiff no later than November 30, 2018. As of this date, December 13, 2018,
Plaintiff has not received said proceeds. Given the tortured history of Defendants’ counsel
making certain statements and not following through on them and their failure to file responses
with the Court on a timely basis, Plaintiff has no confidence she is in fact going to receive the
settlement proceeds any time soon. Plaintiff herein requests the Court’s intervention in enforcing

the Settlement Agreement made between the parties.

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TIMELINE OF EVENTS

This case was filed in January of 2018 With the filing of Plaintiff’s original Complaint
[Doc. 1] to which Equifax Inc. failed to file an answer. Plaintiff filed an Amended Complaint
adding Equifax Information Services LLC as an additional defendant [Doc. 37] The Equifax
Defendants filed a Motion to Dismiss [Doc. 43] Which was denied by the Court. [Doc. 57]
Equifax Defendants failed to timely file an answer thereafter with the Court. Pursuant to F.R.C.P
the Equifax Defendants were required to answer by October 9, 2018 which they failed to do.
Thirty days past their deadline to answer, at the direction of this Court, [Doc. 58] Plaintiff filed
her Request for Clerk’s Default and a Motion for Default Judgment after having informed
Defendants’ Counsel that she was doing so. [Doc. 60]

When Plaintiff informed counsel for Defendants that she was going to file the Request for
Clerk’s Default and Motion for Default Judgment [Doc. 60], counsel for Defendants suddenly
became very interested in making settlement overtures to Plaintiff after not communicating with
her in any manner for an extended period of time. The parties engaged in email and telephone
negotiations which Were not finalized before Plaintiff had to file Doc. 60 in accordance with the
Court’s instruction. Negotiations continued where the parties finally reached a mutually
acceptable agreement Settlement documents were prepared and a mere three hours AFTER
signatures were completed the Equifax Defendants inexplicably filed an answer With the Court
via CM/ECF. Plaintiff filed a Notice of Settlement With the Court immediately. [Doc. 62]

Plaintiff was informed by counsel for Defendants that the settlement proceeds would be
mailed to her in 7 to 14 days after the signing of the agreement which Was accomplished on

November 8, 2018 or given the Thanksgiving holiday as late as November 30, 2018. Plaintiff

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received a text notice from this Court that a Stipulated Motion for Dismissal be filed no later
than December 10, 2018 or Plaintiff’ s case would be dismissed without prejudice.

Late on the evening of December 10, 2018 Plaintiff received an email from Defendants’
counsel asking her to confirm receipt of the settlement proceeds. Plaintiff informed counsel she
had not received the proceeds and that she would be filing a notice of non-receipt with the Court
in order to comply with the Court ordered deadline of December 10, 2018 Wherein she stated she
had not received said proceeds. [Doc. 64] Plaintiff as pro se must use the USPS which causes
delays in her filings reaching the Court. Plaintiff mailed Doc. 64 to the Court on the morning of
December 6, 2018. Later that day while Plaintiff was away from home and out of
communication counsel filed a Motion for Extension of Time past the December 10, 2018
deadline. [Doc. 63] Which was granted by the Court and the deadline Was extended to December
17, 201 8.

Plaintiff Was then informed via email by counsel that she would receive the proceeds by
December 10, 2018. Plaintiff received a text message from FedEx that she would need to sign for
a package delivery on December 10, 2018 to be delivered by 4:30pm. Counsel sent an email
informing her that the settlement proceeds had been sent via FedEx and would be arriving on
Monday, December 10, 2018. Plaintiff changed her plans and made accommodations to be at her
home all day to receive the FedEx delivery which never came. Plaintiff informed counsel on the
evening of December 10, 2018 that no FedEx shipment had been received The following
morning December 11, 2018 counsel sent Plaintiff a tracking number stating that the package
was at the FedEx facility in Cleveland, TN and that he assumed it had taken that route because of

inclement weather in the Carolinas the previous several days.

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Plaintiff tracked the package through the FedEx web site and discovered that weather was
in fact not the reason it had been routed through TN but rather that it had been sent to Plaintiff s
old address on Mossy Creek Trail and was being returned to the sender as undeliverable.

Plaintiff first of all had filed a Notice of Change of Address with the Court to her current
address on June 4, 2018. [Doc.50] Plaintiff also sent copies of that notice to all Defendants in
this case. Thereafter the Equifax Defendants have repeatedly used the old address in their
filings and Plaintiff has never received documents forwarded from the old address though she
did properly file forwarding instructions with USPS. Plaintiff has never received forwarded
copies of Defendant’s filings even though the Certificate of Service on those filings had the
wrong address. Plaintiff has corrected her current address on multiple occasions with counsel.
Plaintiff verbally and in writing cautioned counsel against sending the settlement proceeds to the
incorrect address on or about November 20, 2018. [See Exhibit 1] Even after informing counsel
and correcting her address on the Notice of Settlement [Doc. 62] counsel once again had the
incorrect address in their Motion for Extension of time [Doc. 63] in their Certificate of Service
indicating they pay little to no attention to what Plaintiff informs them of.

At this late date it is apparent that Plaintiff Very likely Will not receive the settlement
proceeds and have ample time to timely notice the Court of such before the deadline of
December 17, 2018 where the Court would dismiss her case. Plaintiff therefore requests the
Court extend the deadline and intervene in this matter to enforce settlement as agreed. Plaintiff
sent an email to counsel on December 11, 2018 informing counsel of the results of the FedEx
tracking and has yet to receive any communication whatsoever in response. This Whole matter
has become nothing more than a three ring circus and Plaintiff would greatly appreciate the

Court’s assistance in bringing it to finality. Plaintiff also notes that she has had to expend an

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additional fifty dollars in mailing costs as a direct result of Defendants’ dilatory and delaying
actions and would request the Court order Defendants to reimburse Plaintiff in that amount in
addition to the settlement already reached. There is no excuse for the Defendants’ actions in this
matter as they appear to very likely be intentional in an effort to cause Plaintiff’s case to be
dismissed and create hardship for her.

Plaintiff has noticed Counsel for Defendants of her intent to file this Motion with the
Court on December 12, 2018 and has received no response.

Plaintiff wishes to thank the Court for its diligence in dealing with this rather convoluted
matter and would like the Court to know that she is doing everything within her power to bring
this matter to a final resolution where the Court may once and for all get it off its docket and
expend no further resources in dealing with it.

WHEREFORE, Plaintiff respectfully requests this Honorable Court delay dismissal of
this case and intervene as it deems necessary to enforce the Settlement agreement already reached
between the parties, or in the alternative should the Court find it more expedient it could simply

move forward and grant Plaintiff’ s Motion for Default Judgment plus all costs.

 

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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing document Was sent to the parties
listed below by first class mail USPS.

Counsel for Equifax Information Services LLC
And Equifax, Inc.

Bradley J. Lingo

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